 Fill in this information to identify your case:

 Debtor 1                 Ronald Gene Housman, Jr
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Small Business Administration                        Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of Misc. Hand tools; Power tools                            Reaffirmation Agreement.
    property       Location: 19525 Maxwell,                                 Retain the property and [explain]:
    securing debt: Northville MI 48167                                    voluntarily repay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:               Ron Housman                                                                                  No

                                                                                                                           Yes

 Description of leased        residential lease (with Debtor's father)
 Property:



 Part 3:        Sign Below

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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                       21-40979-tjt           Doc 4          Filed 02/04/21         Entered 02/04/21 16:03:26             Page 1 of 2
 Debtor 1      Ronald Gene Housman, Jr                                                               Case number (if known)



Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Ronald Gene Housman, Jr                                                  X
       Ronald Gene Housman, Jr                                                          Signature of Debtor 2
       Signature of Debtor 1

       Date        February 4, 2021                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 2

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                   21-40979-tjt               Doc 4          Filed 02/04/21         Entered 02/04/21 16:03:26                 Page 2 of 2
